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         IN THE UNITED STATES COURT OF APPEALS
                 FOR THE FIFTH CIRCUIT

                             ___________________

                                No. 19-30353
                             ___________________

In re: REBEKAH GEE, in her official capacity as Secretary of the Louisiana
Department of Health; JAMES E. STEWART, SR., in his official capacity as
District Attorney for Caddo Parish,

           Petitioners

                           _______________________

                      Petition for a Writ of Mandamus
                 to the United States District Court for the
                        Middle District of Louisiana
                          _______________________


ORDER:
     IT IS ORDERED that petitioners’ opposed motion for leave to file a reply
in support of their petition for writ of mandamus is GRANTED.




                                    LYLE W. CAYCE, CLERK
                                  United States Court of Appeals
                                       for the Fifth Circuit
                                         /s/ Lyle W. Cayce

                         ENTERED AT THE DIRECTION OF THE COURT
